       Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.

                            ________________

                             No. 3D23-0387
                      Lower Tribunal No. F19-4089B
                          ________________


                            Francois Valdez,
                                  Appellant,

                                     vs.

                         The State of Florida,
                                  Appellee.



    An appeal from the Circuit Court for Miami-Dade County, Zachary
James, Judge.

      Carlos J. Martinez, Public Defender, and Nicholas A. Lynch, Assistant
Public Defender, for appellant.

      Ashley Moody, Attorney General, and Ivy R. Ginsberg, Assistant
Attorney General, for appellee.


Before LOGUE, C.J., and SCALES, and MILLER, JJ.

     PER CURIAM.
Affirmed.




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